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                 Exhibit 3
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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS



 SINGULAR COMPUTING LLC,                    Civil Action No. 1:19-cv-12551 FDS
                           Plaintiff,       DEFENDANT GOOGLE LLC’S FIRST
                                            SET OF INTERROGATORIES TO
             v.                             PLAINTIFF SINGULAR COMPUTING
                                            LLC
 GOOGLE LLC,
                                            Hon. F. Dennis Saylor IV
                           Defendant.
                                            Date Filed: December 19, 2020




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         Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the Local Rules

of the United States District Court for the Northern District of California, defendant Google LLC

requests that plaintiff Singular Computing LLC (“Singular”) respond to the following First Set of

Interrogatories in writing, under oath, and in accordance with the following instructions and

definitions, within thirty (30) days from the date of service thereof.

I.       DEFINITIONS
         1.     The terms “Singular,” “Singular Computing,” “you,” “your,” and “Plaintiff” refer

to plaintiff Singular Computing LLC, and each of its past and present officers, directors,

employees, counsel, agents, consultants, representatives, and any other persons acting on behalf

of any of the foregoing, and Singular’s affiliates, parents, divisions, joint ventures, licensees,

franchisees, assigns, predecessors, and successors in interest, and any other legal entities,

whether foreign or domestic, that are owned or controlled by Singular, and all predecessors and

successors in interest to such entities.

         2.     The terms “Google” and “Defendant” refer to defendant Google LLC.

         3.     The term “action” refers to the above-captioned litigation initiated by Singular

against Google on December 20, 2019.

         4.     The term “Patents-in-Suit” refers to U.S. Patent Nos. 8,407,273, 9,218,156, and

10,416,961.

         5.     The term “communication” means every manner or method of the disclosure,

transfer, or exchange of information, whether orally, electronically, or by document, and whether

face to face or by telephone, mail, facsimile, email, instant message, or otherwise.

         6.     The term “documents” includes all documents as broadly defined in Rule 34 of

the Federal Rules of Civil Procedure, whether printed, recorded, microfilmed, stored

electronically or optically, reproduced by any process, written or produced by hand, or recorded

in any other way, and whether or not claimed to be privileged or confidential by any person.

Any comment or notation appearing on any document, and not a part of the original text, is to be




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considered a separate “document.” Any non-identical copy of any document also is to be

considered a separate “document.”

         7.       The terms “identify,” “identifying,” and “identity” in relation to an entity or

person means to state the entity’s or person’s full name, present or last known address and last

known contact information, a description of such person’s knowledge at it relates to the

interrogatory, and when referring to a natural person, additionally, the present or last known

place of employment, and present or last known job, position, and title.

         8.       The term “identify” and “identifying” in relation to a document means to state

(i) the type of document; (ii) general subject matter; (iii) date of the document; and (iv) author(s),

addressee(s) and recipient(s). In the alternative, the responding party may produce the

documents, together with identifying information sufficient to satisfy Fed. R. Civ. P. 33(d).

         9.       The terms “include” and “including” mean including without limitation and not

limited to.

         10.      The terms “infringe” and “infringement” mean direct infringement, contributory

infringement, infringement by inducement, literal infringement, and infringement by the doctrine

of equivalents.

         11.      The terms “person” and “persons” include both natural persons and entities

(including corporations, proprietorships, partnerships, associations, joint ventures, governmental

agencies, and other entities, and any combination thereof, and all predecessors in interest,

successors, affiliates, subsidiaries, and related entities).

         12.      The term “prior art” means the subject matter described in 35 U.S.C. §§ 102 and

103, including publications, patents, physical devices, prototypes, uses, sales, and offers for sale,

and any documents or other items evidencing any of the foregoing.

         13.      The terms “reflect,” “reflecting,” “relate to,” “refer to,” and “relating to” mean

relating to, referring to, concerning, mentioning, reflecting, pertaining to, evidencing, involving,

describing, discussing, commenting on, embodying, responding to, supporting, contradicting, or

constituting (in whole or in part), as the context makes appropriate.


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           14.   The term “third parties” mean any person that is not Singular or the defendant.

           15.   The terms “all,” “any,” and “each” shall each be construed as encompassing any

and all.

           16.   The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside its scope.

           17.   The use of the singular form of any word includes the plural and vice versa.

           18.   The use of a verb in any tense shall be construed as the use of the verb in all other

tenses.

II.        INSTRUCTIONS
           1.    In answering the following Interrogatories, furnish all available information,

including information in the possession, custody, or control of any of Singular’s attorneys,

directors, officers, agents, employees, representatives, associates, investigators, divisions,

affiliates, partnerships, parents or subsidiaries, and persons under Singular’s control, who have

the best knowledge. If you cannot fully respond to the following Interrogatories after exercising

due diligence to secure the information requested thereby, so state, and specify the portion of

each Interrogatory that cannot be responded to fully and completely and state what efforts were

made to obtain the requested information.

           2.    If any information requested is claimed to be privileged or otherwise immune

from discovery, state the grounds for any objection with specificity in accordance with the

requirements of Rule 33(b)(4) of the Federal Rules of Civil Procedure.

           3.    If you find the meaning of any term in these discovery requests to be unclear, you

should assume a reasonable meaning, state what that assumed meaning is, and respond to the

request on the basis of that assumed meaning, subject to Google’s right to clarify the meaning in

the same or a different manner.




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         4.     Your obligation to respond to these Interrogatories is continuing and its responses

are to be supplemented to include subsequently acquired information in accordance with the

requirements of Rule 26(e) of the Federal Rules of Civil Procedure.

III.     INTERROGATORIES
INTERROGATORY NO. 1:

         Separately for each asserted claim of each of the Patents-in-Suit, describe in detail all

facts relating to its conception and reduction to practice, including the conception date and the

date of reduction to practice of its subject matter; all acts that you contend represent diligence

occurring between the dates of conception and reduction to practice; the identity of each person,

including third parties, who worked on conceiving and reducing the alleged invention to practice

and each person’s role; and the identity of all documents relating to conception and reduction to

practice.

INTERROGATORY NO. 2:

         Separately for each asserted claim of each of the Patents-in-Suit, describe in detail all

facts and circumstances relating to the first written description, offer for sale, sale, public

disclosure, public use, or disclosure of the claimed invention to any person other than a named

inventor, including the identity of the person involved, the date on which it occurred, and the

identity of all related documents.

INTERROGATORY NO. 3:

         Identify any product (whether hardware or software) that has practiced any claim of the

Patents-in-Suit, or that you allege to be an embodiment of any invention claimed in the Patents-

in-Suit, including products designed, programmed, owned, marketed, sold or licensed by you.

INTERROGATORY NO. 4:

         Describe in detail all the manners or techniques by which each claim of the Patents-in-

Suit improved upon the prior art, added functionality that did not exist in the prior art, or

provided a variation on or upgrade of the prior art, and explain why.




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INTERROGATORY NO. 5:

         If you contend that you are entitled to any monetary recovery as a result of alleged

infringement of the Patents-in-Suit by Google, state whether you contend that you are entitled to

lost profits or a reasonable royalty, and state all facts, evidence, and reasons upon which you rely

in support of your contention, such that if you contend you are entitled to an award of lost profits

damages, you identify each of your products you allege falls within the scope of any claim of the

Patents-in-Suit and state the total sales annually in units and dollars from its introduction to the

present, and if you contend you are entitled to an award of reasonable royalty damages, state

what you assert to be a reasonable royalty to be paid by Google under 35 U.S.C. section 284,

including the complete factual bases on which you base your calculation of such royalty rate.
INTERROGATORY NO. 6:

         For each of the Patents-in-Suit, state the priority date you contend applies for each

asserted claim and identify the portion(s) of the specification in any earlier application that

support that priority date.

INTERROGATORY NO. 7:

         Identify all facts and circumstances relating to your allegation that Google willfully

infringes any of the Patents-in-Suit, including the identity of all related persons and documents

and the date on which you contend that Google first became aware of the Patents-in-Suit.

INTERROGATORY NO. 8:

         Describe in detail any proposed, requested, or executed assignment, license, conveyance,

and/or grant of any right, title or interest in or to the Patents-in-Suit, including the identity of all

persons involved therein and any documents related thereto.

INTERROGATORY NO. 9:

         Describe in detail all sources of funding for the research and development of the

technology claimed in the Patents-in-Suit, including university and government funding.




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INTERROGATORY NO. 10:

         Describe in detail the “Singular test” referenced in paragraphs 94, 111, and 129 of

Singular’s First Amended Complaint, including the number of tests, how the tests were

conducted (including the related software, hardware, or combination thereof used), the

parameters for the tests (including the assumptions made), the personnel who conducted the

tests, the full results of the tests, and what constituted “a mathematically representative sample of

all possible valid pairs of inputted float32 numerical values.”

INTERROGATORY NO. 11:
         For each of the Patents-in-Suit, describe in detail all facts related to any attempts to

commercialize, including identifying: each commercialization attempt; each person, including

third parties, who were involved in efforts to commercialize the alleged invention, including

each person’s role; any third parties to whom commercialization efforts were targeted; and all

documents constituting, evidencing, or otherwise relating to any attempts to commercialize.

INTERROGATORY NO. 12:

         For each asserted claim, identify, on a limitation-by-limitation basis, where in the

specification the written description and enabling disclosure for such limitation is provided as

required by 35 U.S.C. § 112.




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Dated: July 13, 2020

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              1                                          PROOF OF SERVICE
              2   I am employed in the City and County of San Francisco, State of California in the office of a
                  member of the bar of this court at whose direction the following service was made. I am over the
              3
                  age of eighteen years and not a party to the within action. My business address is Keker, Van
              4   Nest & Peters LLP, 633 Battery Street, San Francisco, CA 94111-1809.

              5   On July 13, 2020, I served the following document(s):

              6          DEFENDANT GOOGLE LLC’S FIRST SET OF INTERROGATORIES TO
                         PLAINTIFF SINGULAR COMPUTING LLC
              7
                    by E-MAIL VIA PDF FILE, by transmitting on this date via e-mail a true and correct
              8      copy scanned into an electronic file in Adobe “pdf” format. The transmission was reported
              9      as complete and without error.

             10    Paul J. Hayes                                        Counsel for Plaintiff Singular Computing LLC
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             11    Matthew D. Vella
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             18
                  Executed on July 13, 2020, at San Francisco, California.
             19
                  I declare under penalty of perjury that the above is true and correct.
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             23                                                 Dori Chan

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                                                           PROOF OF SERVICE
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